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                       UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF CONNECTICUT
                              NEW HAVEN DIVISION

IN RE:                                              )      CHAPTER 7
                                                    )
ACE BEGONIAS INC.,                                  )      CASE NO. 19-31430 (AMN)
                                                    )
              DEBTOR.                               )
                                                    )
                                                    )
                                    )
BONNIE C. MANGAN, CHAPTER 7 TRUSTEE )                      Adv. Pro. No. 21-03007
FOR ACE BEGONIAS, INC.              )
                                    )
           PLAINTIFF                )
                                    )
v.                                  )
                                    )                      May 5, 2022
KABBAGE, INC. AND CELTIC BANK       )
                                    )
           DEFENDANTS               )

                                CERTIFICATE OF SERVICE


In accordance with the applicable provisions of the Federal Rules of Bankruptcy

Procedure, 2002 and 7004, the undersigned certifies that on the 5th day of May, 2022

the following documents were served on the U.S. Trustee and all appearing parties via

the court’s electronic filing system or, by first class mail on the parties listed in section

II below.


I.     Documents Served:

       1.     Order Granting Motion to Limit Service of Motion
              And Notice of hearing (ECF No. 70)

       2.     Notice of Hearing ECF No. 71);

       3.     Motion for Approval of Settlement Agreement (ECF No. 68);

       4.     Proposed Order;

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     5.    Any Exhibits.

     II.   Parties Served:

     Ace Begonias, Inc.
     66 Bear Hill Road
     Bethany, CT 06524
     (Debtor)

     Attorney Anthony S. Novak
     Novak Law Office, P.C.
     Manchester, CT 06042-1975
     anthonysnovak@aol.com



                          And to Creditors on Schedule A attached

     Dated at South Windsor, Connecticut this 5th day of May, 2022



/s/Bonnie C. Mangan
Bonnie C. Mangan
Chapter 7 Trustee
#ct03759




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                                SCHEDULE A
                          19-31430 Ace Begonias Inc.
                              Creditors Served

                Advantage Capital Funding
                Attn: President
                Thomson Ollunga, LLP
                747 Third Avenue, 2nd Floor
                New York, New York 10017

                Barbara Hagan-Smith
                116 Northrop Road
                Woodbridge, CT 06525
                BioAgriCultural Enterprises LLC
                dba WaterField Farms
                Attn: Managing Member
                93 Peck Rod
                Bethany CT 06524
                Boyd Nurseries
                Attn: President
                1535 B Road
                Loxahatchee, FL 33470
                Clifford Strumello
                15 Cemetary Road
                Seymour, CT 06483
                Connecticut Department of Revenue Services
                Collections Unit / Bankruptcy Team
                450 Columbus Blvd., Ste. 1
                Hartford, CT 06103-1837
                Connecticut Light & Power dba Eversource
                Attn: President
                PO Box 2899
                Hartford CT 06101
                CSS Industries dba Hampshire Paper
                Attn: Jonathan Zeislof, Sr. Mgr. Fin. S
                2015 West Front Street,
                P.O. Box 428
                Berwick, PA 18103


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                Denise Arpino
                33 Andrews Avenue
                Milford, CT 06460
                Eversource
                Attn: President
                P.O. Box 56002
                Boston, MA 02205
                Eversource
                Attn: Bankruptcy or Legal Dept
                107 Selden Street
                Berlin, CT 06037
                Attorney Gary J. Greene
                Greene Law PC
                11 Talcott Notch Road
                Farmington, CT 06032
                Gregory Floral Inc.
                Attn: President
                1464 Gregory Road
                St. Catherines Ontario L2R 6P9
                Canada
                Griffin Greenhouse Supplies
                Gary J. Greene, Esq.
                Greene Law, P.C.
                11 Talcott Nothch Road
                Farmington, CT 06032
                Griffin Greenhouse Supplies
                Attn: President
                1619 Main Street
                Tewksbury, MA 01876
                Hans David Shmigelsky
                83 Chestnut Street
                Apt 83D
                Bethel, CT 06801
                Henry Cushman
                252 Leetes Island Road
                Trailer 21
                Branford, CT 06405




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                Hugo Soriano
                24 Whitlock Avenue
                Bethel, CT 06801
                Internal Revenue Service
                Attn: Commissioner
                PO Box 7346
                Philadelphia, PA 19101-7346
                Jay Boynton
                57 Bear Hill Road
                Bethany, CT 06524
                Kabbage Inc.
                Attn: President
                P.O. Box 77081
                Atlanta, GA 30357
                Kabbage Inc.
                Attn: President
                730 W Peachtree St NW #1100
                Atlanta, GA 30308
                Lizeth Perez
                60 Woodward Avenue
                2nd Floor
                New Haven, CT 06512
                Marta German
                1170 Johnson Road
                Woodbridge, CT 06525
                Max Boynton
                57 Bear Hill Road
                Bethany, CT 06524

                Mulvehill
                Attn: President
                9821 Happy Hollow Road
                Delray Beach, FL 33446




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                Nathan Guzzo
                139 Fountain Street
                Apt. B8
                New Haven, CT 06515
                O'Connell, Attmore & Morris
                c/o Addam D. Lewis
                280 Trumbull Street, 23rd Fl.
                Hartford, CT 06103
                Pamela Davison
                231 Seymour Road
                Woodbridge, CT 06525
                Phoenix Propane
                Attn: President
                P.O. Box 540
                Oxford, CT 06478
                Phoenix Propane, LLC
                c/o Philip H. Monagan, Esq.
                61 Holmes Avenue
                P.O. Box 1817
                Waterbury, CT 06722
                ROC Funding Group
                Attn: President
                260 Christopher Ln
                Staten Island, NY 10314
                State of Connecticut
                Dept. of Labor
                Attn: Commissioner
                200 Folly Brook Boulevard
                Wethersfield, CT 06109
                State of CT, Dept. of Revenue Services
                c/o Denise S. Mondell
                55 Elm Street, P.O. Box 120
                Hartford, CT 06141-0120




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                U.S. Bank NA dba
                Elan Financial Services
                Attn: President
                Bankruptcy Department
                PO Box 108
                St. Louis MO, 63166-0108
                Wendy Rutkin
                120 Dwight Street
                Apt. 408
                New Haven, CT 06511
                William Lasse
                130 Hill Street
                Shelton, CT 06484
                Wojtowicz LLC
                Attn: President
                100 Bank Street
                Seymour, CT 06483


    Attorney General of the United States
    U.S. Department of Justice
    Attn: Attorney General
    950 Pennsylvania Avenue
    Washington, DC 20530-0001


    United States Attorney’s Office
    Attn: Civil Process Clerk
    157 Church Street, 25th Floor
    New Haven, CT 06510




    State of Connecticut
    Office of the Attorney General
    Attn: Attorney General
    P.O. Box 120
    Hartford, CT 06106



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    Green & Sklarz, LLC       kbaranowsky@gs-lawfirm.com

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    Jeffrey A. Zachman
    Dentons US LLP            jeffrey.zachman@dentons.com




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